Case 1:13-cr-00135-JJM-LDA Document 99 Filed 08/18/14 Page 1 of 5 PagelD #: 1499

  

lane, Sry, a man

   

of fees. Depeatinent of Sushee’} Tax Divisigri, GOLD Sivecet, MW. Ahi flow,

 
 

- Connell and William E. Smith 1 Exchange Terrace,

CCi John, f “ |

From! John Joseph Fell, a men, fe temporary: a9 Ralph Tal bot
Street, South Wey ,

 

Regarding: Case No (!13-ce-0013S-M-LDA. UNTTED STATES oF
AMERICA vs JOHN T. FALL .

 

» August 15, 20/4

‘To
In reaard +o said case, the Fa// Couert now presents notice: Lig man, soy
here and will verity ia open court, all herein is tath; (aman idiotin Tegal society
my pteperty remains wrong b f and ante usfielly : held y wi +h ‘thort oe jainst G avi
wi thot my consents by wey “Seried case thus iF place a Claim of Conusarice int

"said ease: _ Pocbnder ell”
+1 bce as thor. ad ambit nar debrdant apnwred! incorat: any beatings ane alenaar cart
thus, posthaste, jwish and require you te provide proper and responsive reply id
i, within B deys, for these reguestss _
« provide documentary evidence signed by plaintitt, which authorizes
Mout to represent the plaint¥ in regard rostid case f
a provide completedand signed by plainti€t, fadeneltoem AO (ka. AD 071)
‘Crminal Compl ? f bit BY or eguivalert G wern) document; gp
«what is the true lawful name ard address -Lallllnon-testimauel, haapartial

 

 

 

  
   

 

 
 
Case 1:13-cr-00135-JJM-LDA Document 99 Filed 08/18/14 Page 2 of 5 PagelD #: 1500

‘i fa] man, in living voice attend[ed] so-called "calendar call",

Exhibit A

 

1ost[ed] by the man, John}

 

McConnell on June'28, 2014-at 11:00AM: i verify these events fexcerpts) happen i in that. catl:

John -MeConnell {did} say “we havea court reporterhere so we aré on the retard”:

isay toJehn J McConnell that “fam man andi enly interact-with another man, h'do not
interact with 3rd parties": "i am-not Nr: Fall;

John J McConnell [did] say "i have on the phone John-N. Kane and Jeffrey Bender":

John } McConnell: ‘Edid] say’ "f also: hove John i Fall on the phone" andi ask{ed] twice
“who. is Johrd Fall?" and no proper: response bappen;

    

what: that means? Py say again‘ "F ihave a Claim of C Cértiisanee | in this: cose": and.ne

proper.résponse happen;

[did] say "/ artnet Me. Fall”; “Lom aman, only interact with onother man, ¢don't speak
legalese... unless... “is there alaw that requires me to.understand legalese?" and Jotin 1
McConnell .answered."no", and i verbal ly confirmed] he say “no”, ; and neither: he’ nor
anyone rebutfted]:

isay: “i want to speak tothe plaintiff, i want-to hear the plaintiff mokeé an octusation®:
“if the plaintiff is not on thé phone, iam: hanging. up’; is the plaintiffonthe phone? i

‘require the plaintiff to-make.an- accusation, i wish to ‘settle Privately;

‘askfed] John J-McConnell about 15 (fiftesn} times “is the. plaintiff an the. phone?” and
neither John) MCConnéll nor any man nar-woman respond{ed];

dain going’ to interpret. that yau're igno: dag my: question that: the plaintiff is net on-the
phone, there is.no other man with firsthand knowledge on this phone, js that correct?

whereupon Joha J McConnell continued te ignore my questions and’soi say “i have

nothing further-td-say, thank you. for your time and t-discannect my phone,
Case 1:13-cr-00135-JJM-LDA Document 99 Filed 08/18/14 Page 3 of 5 PagelD #: 1501

Exhibit B
sstneher. ADLER Cy ee ep

UNITED STATES DISTRICT COURT
for the
District 6f Rhode: Island

‘Waited Statesof Aittetica

‘Chse.No.

 

 

  

    

| only afwokman

 

 

 

 

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NAE COMPLAINT

 

1 the. complainant i in this case, state’ that ‘the: een is ruc in ihe best of my knawdedge aed’ betiet, ”

On. or: “bout the satetsy of . - fin the onuinty oe .
: sttien ee "J the uctenaies) violated a

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Bdate:

 

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Exhibit ¢ -Paintif Must Appear

_ ¢.4400, from Anglo-French pleintif (late 130}, noun:use of Old Freach ‘plaictif:
p “complaining; wretched: ‘tniserable,* from. plainte (see: plaint).

| CE appear) etymology from. wow.elymoniine.cam]

late-13e., “to-come inte view," from ster of Old French aparoir (12c., Modem French apearait' appear, come. to io, come: forth,"
from Latin: apparere ' “to_appear: come insight, make-an: appearance,? ‘from ad: "fo" (see-ad- visibta:

 

 

 

cE Reports: ‘of Cases Decided in. the Court of Common Pleas, Volume 7
| By Ontario. Court of Common Pleas, [Van'Allen-vs. Wigie et. al] - - pages 462 and 463; about 7th sentence on page:463;

“Unless the plaintiff appears, the jury cannot “give”-or "pronounce" thelr verdict”

 

Cf Sir William Blackstone's Commeritary,: Book 3, Chapter 3 “Of the: Trial By Jury”
{at about the 42nd paragraph) htteyAvnw.! onang. comexibris/blackstoneibla-323.htm

"WHEN they are: unanimously agreed, the j uy return back ta the bar; anid:
hatece hey de deliver their: ‘verdict, the piaintj nde. “as

 

 

 

 

 

| CE. Smithy. Ilinois, 390 U:S. 129.(1968},.U.S, Suprame Court
No. 158, Argued December:7, 1967, Decided Januaiy 29, 1968

“Where, on cross-examination of principal prosecution witness . . ,

 

 

"Yet. when the: Credibility of a'witness is in issue. the’ very starling pointin. "exposing falseliond and bringing Qutthe truth" (Foatnote 7]

thigh « cross. = examination must st necessarily be to ask the witness who he is and: where } .
f nar dress open countless avenues: dfin-caurt examination. and Gut-ob-court, investigation.

To forbid this most rudimentary inquiry.at the thréstiald is effectively to emasculate- the tight of cross-examination itself.”

 

    

 

 

 

CAPITIS OIMINUTIO eis ravi oes of stabs through the -use of capitalization, #.g. JOHN: DOE.or DOE JORN-
| This ctiivied when a a man's condition was changed om ‘one’of freedom to ona’of bondage, when he became a slave.

le swept away with it alt fights. of citizenship and all family nights. Seer last. 1, 16, pryt, 2, 3;-Big. 4) 5, 115-Mackeld, Rom.Law, 44d,

 

 
Case 1:13-cr-00135-JJM-LDA Document 99 Filed 08/18/14 Page 5 of 5 PagelD #: 1503

 

 

 

 

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